Case 2:20-cv-00851-BSJ Document 79-5 Filed 02/02/21 PageID.1159 Page 1 of 2




                             EXHIBIT 5
21/7/2020   Case 2:20-cv-00851-BSJ Document  79-5
                                         Crystal      Filed
                                                 Lagoons Mail -02/02/21      PageID.1160 Page 2 of 2
                                                               Follow-up and article



                                                                                                    Lisa Moore <lmoore@crystal-lagoons.com>



  Follow-up and article
  1 message

  Lisa Moore <lmoore@crystal-lagoons.com>                                                                              Fri, Jan 12, 2018 at 10:37 AM
  To: Brook Cole <bcole@clydeinc.com>

    Hi Brook -

    Happy New Year!

    I wanted to check in with you on the concept design that I sent to you on the 1st, as well as talk about the article that came out yesterday
    on your project. That's great news about Weaver announcing the project at the Summit yesterday, as I hope this means we will get to
    continue to work together in incorporating our lagoon technology into your development. I will try and reach you by phone today as we
    need to discuss the sensitivities in announcing that you are working with Crystal Lagoons before we have a signed deal. Our company is
    very particular about this, so it's best/easier to discuss via phone. I am in Chile all this week at our HQ, but I will try to ring you between
    meetings.

    http://www.cedarcityutah.com/news/archive/2018/01/11/kss-plans-unveiled-for-master-planned-community-in-st-george-comprising-10000-
    new-residences/#.Wliwiq7ibIV



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